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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

SOUTHERN FIELD MAINTENANCE      )
AND FABRICATION, LLC,           )
                                )
    Plaintiff,                  )
                                )
v.                              )                  CIVIL ACTION NO.
                                )                  2:18-CV-581-WC
WALTER ERIC KILLOUGH; and TOTAL )
MAINTENANCE SERVICES, LLC,      )
                                )
    Defendants.                 )

                     SECOND AMENDED COMPLAINT

      Plaintiff Southern Field Maintenance and Fabrication, LLC (“Southern

Field”) states unto the Court the following for its second amended complaint against

Defendants Walter Eric Killough, William Lomax Byrd, and Total Maintenance

Services, LLC.

                                      Parties

      1.    Southern Field is is an Alabama limited liability company with its

principal place of business in Luverne, Crenshaw County, Alabama.

      2.    Defendant Walter Eric Killough (“Killough”) is a resident of Rutledge,

Crenshaw County, Alabama.




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      3.     Defendant William Lomax Byrd (“Byrd”) is a resident of Brantley,

Crenshaw County, Alabama.

      4.     Defendant Total Maintenance Services, LLC (“TMS”) is an Alabama

limited liability company with its principal place of business in Dothan, Houston

County, Alabama.

                               Nature of the Action

      5.     This action arises, first, from Killough’s actions taken in forming,

incorporating, financing, creating a business plan for, and operating TMS while he

was an employee of Southern Field. TMS’s business plan included the taking of

Southern Field’s records, business, customers, and employees, and Killough

executed on that plan while still in the employment of TMS. Killough took these

actions surreptitiously and without the consent of Southern Field, and, because he

held a position of trust with Southern Field, Killough took these actions in violation

of Killough’s fiduciary obligations and duties of loyalty he owed to Southern Field.

Further, Killough’s creation and operation of TMS involved the misappropriation

and misuse of Southern Field’s confidential and proprietary trade secret information.

For a number of Killough’s actions, Byrd, who was also a former employee, officer,

and owner of Southern Field, advised, assisted, and acted in concert with Killough

in violation of Byrd’s non-compete agreement with Southern Field.




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                               Jurisdiction and Venue
      6.     The Court possesses subject matter jurisdiction over this action

pursuant to 28 U.S.C. § 1331 and 18 U.S.C. § 1836(c), as it includes claims arising

under the laws of the United States, more particularly claims under the Defend Trade

Secrets Act, and 17 U.S.C. § 501(a), as it includes claims arising under the Copyright

Act. The Court has supplemental subject matter jurisdiction over all other claims

asserted herein pursuant to 28 U.S.C. § 1367(a).

      7.     The Court possesses personal jurisdiction over Killough, Byrd, and

TMS, who are residents of the State of Alabama.

      8.     Venue is proper in this forum pursuant to 28 U.S.C. § 1391(b), in that

all defendants reside in this judicial district, two defendants reside in this division of

this judicial district, and a substantial part of the events giving rise to Southern

Field’s claims occurred in this judicial district and division.

                                         Facts

      9.     Southern Field is an industrial maintenance management and services

provider that offers nationwide services in the pulp and paper, power generation, and

cement industries and also supplies engineered products to provide reliable air

pollution control equipment, industrial stoker boiler auxiliary equipment, air

preheaters, and wood yard equipment. Southern Field has projects and operations in

more than 30 states, including in Alabama and Georgia.


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      10.    Killough was, until March 25, 2018, an employee of Southern Field.

      11.    Byrd was, until January 2018, an employee of Southern Field.

      12.    TMS is an industrial maintenance company formed by Killough to

compete with Southern Field. Upon information and belief, TMS is owned in whole

or in part by Killough.

      13.    Southern Field employed Killough commencing in approximately

October 2007, and employed him until his separation from his employment with

Southern Field on or about March 25, 2018.

      14.    Killough began his employment with Southern Field as a fabrication

shop foreman, and over time Killough was promoted by Southern Field to the

position of superintendent. On the date of his separation from his employment with

Southern Field, Killough was superintendent of Southern Field’s maintenance and

construction crew assigned to supervise and manage Southern Field’s ongoing

maintenance and construction service work for Georgia-Pacific Corporation at a

Georgia-Pacific containerboard manufacturing facility in Cedar Springs, Georgia

(the “GP Project”).

      15.    In the job of superintendent of Southern Field’s maintenance and

construction crew on the GP Project, Killough held a high-ranking position of trust

and confidence with Southern Field.




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      16.    As a result of Killough’s high-ranking position of trust and confidence

with Southern Field, Southern Field shared with Killough profit and overhead

information for Southern Field for jobs Killough was supervising for Southern Field

on the GP Project in order to assist Killough and Southern Field analyze the

profitability of those jobs and to help Killough prepare bids for future work by

Southern Field of a similar nature.

      17.    As a result of Killough’s high-ranking position of trust and confidence

with Southern Field, Southern Field shared with Killough its business plans to secure

and expand its plant maintenance work, and Killough was told by Southern Field

that it expected Killough to play an integral part in those plans as an employee of

Southern Field. To this end, in February 2018, Killough was offered an opportunity

to purchase an ownership interest Southern Field’s parent company, which Killough

declined on March 1, 2018.

      18.    Southern Field invested heavily in training and educating Killough,

including showing him a substantial amount of proprietary company financial and

customer information, instructing and training him in the processes necessary to

properly estimate construction and maintenance projects for Southern Field, and

placing him in position to develop and strengthen Southern Field’s relationship with

Georgia-Pacific, from whom Southern Field generated a significant amount of

business. As to the GP Project, Killough became the “face of the company” for


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Southern Field with Georgia-Pacific, Southern Field’s customer on the GP Project,

and the customer’s representatives involved in that project.

      19.      At a time presently unknown to Southern Field, but not later than the

August 2017, Killough began making plans and taking actions to form an industrial

maintenance and construction company to compete with Southern Field. All of

Killough’s plans and actions to form this competing company were undertaken

during a time when Killough was an employee of Southern Field, and they were

undertaken clandestinely and without the knowledge or consent of Southern Field.

      20.      The actions undertaken by Killough included the formation and

incorporation of TMS; creating a business plan for TMS that involved taking

Southern Field’s ongoing maintenance and construction work on the GP Project;

obtaining funding and financing for TMS; creating a company name and logo for

TMS; obtaining credit accounts with a vendor for TMS; and obtaining insurance for

the new company. All of these actions were undertaken in secret and while Killough

was still employed by Southern Field.

      21.      While still employed by Southern Field, Killough took additional steps

to take, or attempt to take, business from Southern Field on behalf of TMS. These

steps included:

            a. no later than January 2018, taking steps to have TMS set up as a vendor

               at the Georgia-Pacific Cedar Springs facility;


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            b. entering into a Master Purchase Agreement with Georgia-Pacific Cedar

               Springs on or about February 9, 2018;

            c. no later than February 2018, recruiting to TMS members of the

               Southern Field crew that he supervised on the GP Project to work for

               TMS on the GP Project;

            d. soliciting maintenance and construction jobs from Georgia-Pacific’s

               buyers and managers on the GP Project that resulted in Georgia-Pacific

               Cedar Springs issuing purchase orders to TMS for maintenance work

               projects as early as March 1, 2018;

            e. having Georgia-Pacific replace Southern Field as the maintenance

               contractor on the GP Project outside of the usual bid process;

            f. having Southern Field removed from the bid list on the GP Project

               and/or failing to notify Southern Field about numerous upcoming bid

               opportunities on the GP Project; and

            g. using his Southern Field crew to work a maintenance job on the GP

               Project as TMS on or about March 16, 2018.

      22.      The actions described above were undertaken clandestinely, without

the knowledge or consent of Southern Field, and were done while Killough was still

an employee of Southern Field.




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      23.     Additionally, Defendants Killough and TMS have misappropriated

substantial amounts of confidential, proprietary and trade secret business

information belonging to Southern Field for Defendants’ use in forming, setting up,

capitalizing and operating TMS. Killough obtained this information by taking it

from Southern Field’s email system, by taking hard copy and/or electronic

documents containing such information, and by virtue of the training and experience

he was provided by Southern Field through his employment by Southern Field as a

superintendent on the GP Project. The trade secret business information (the

“Southern Field Trade Secrets”) misappropriated by Defendants Killough and TMS

includes:

            a. Southern Field’s project estimates, proposals, and purchase order

              information, along with Killough’s intimate knowledge about Southern

              Field’s proprietary and confidential information contained in them (the

              “Bid Documents”):

                  i. Bid Documents contain trade secret data consisting of costs

                    structure of internal labor, fringes, overhead, profit, historical

                    data of past jobs and winning composite costs.

                 ii. Killough prepared proposals and bid work for Southern Field on

                    numerous occasions and had many conversations of a




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            confidential nature on how Southern Field’s price was prepared

            for the proposals and bid work he prepared.

        iii. Access to the Bid Documents is controlled via a pre-approved

            list of Southern Field employees that have access to these

            documents.

        iv. The Bid Documents are either stored on Southern Field’s access-

            limited, password-protected server, or as paper files in locked

            cabinets or in locked rooms.

         v. Southern Field discussed specifically with Killough Southern

            Field’s need to maintain the confidentiality of the proprietary

            information contained in its Bid Documents.

        vi. Final proposals within the Bid Documents, including proposals

            Killough prepared and sent to Georgia-Pacific on the GP Project,

            are   marked    with       the   confidential/proprietary   legend

            “COMPANY         CONFIDENTIAL              &     PROPRIETARY

            INFORMATION.”

        vii. Southern Field’s Bid Documents derive independent economic

            value from not being generally known to or readily accessible by

            other persons who could obtain economic value from their

            disclosure or use because, at a minimum, they include


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             information, such as historical cost and bidding information

             developed by Southern Field using information not generally

             known in the field, that would allow persons knowledgeable in

             the field to identify and competitively bid for business

             opportunities against Southern Field.

       viii. During the time prior to and after separating from his

             employment with Southern Field, Killough copied and

             misappropriated certain Southern Field Bid Documents without

             Southern Field’s consent or authorization and has disclosed and

             used the information contained in those Bid Documents through

             TMS at a minimum in obtaining and performing the maintenance

             service work on the GP Project.

    b. Information from Southern Field’s project tracking log, containing

       information on past, current and future purchase orders on the GP

       Project (the “Project Tracking Log”):

          i. The Project Tracking Log listed Southern Field’s customers,

             locations and dollar amounts of all bids.

         ii. Only authorized Southern Field personnel are given access to the

             Project Tracking Log.




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         iii. The Project Tracking Log is maintained in an electronic format

             on Southern Field’s access-limited, password-protected server.

         iv. Southern Field discussed specifically with Killough information

             from the Project Tracking Log concerning proposals and jobs

             related to the GP Project as well as Southern Field’s need to

             maintain the confidentiality of the proprietary information

             contained in its Project Tracking Log.

         v. Southern Field’s Project Tracking Log derives independent

             economic value from not being generally known to or readily

             accessible by other persons who could obtain economic value

             from its disclosure or use because, at a minimum, it includes

             information, such as customer and historical bid information

             developed by Southern Field using information not generally

             known in the field, that would allow persons knowledgeable in

             the field to identify and competitively bid for business

             opportunities against Southern Field.

         vi. During the time prior to separating from his employment with

             Southern Field, Killough misappropriated confidential and

             proprietary information contained in Southern Field’s Project

             Tracking Log without Southern Field’s consent or authorization


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             and, upon information and belief, has disclosed and used that

             information contained in the Project Tracking Log through TMS

             at a minimum in obtaining financing to allow TMS to begin

             operations and in performing the maintenance service work on

             the GP Project.

    c. Southern Field’s proprietary and confidential time and materials rate

       sheet for loaded rates used on the GP Project (the “GP Loaded Rate

       Sheet”), used by Southern Field to prepare bids and quotes for industrial

       maintenance contracts and jobs on the GP Project:

          i. Southern Field’s Loaded Rate Sheet is maintained in both hard

             copy and electronic copy formats.

         ii. Electronic copies and hard copies of the Loaded Rate Sheet are

             maintained by Southern Field’s Chief Financial Officer in locked

             cabinets or in locked offices in Southern Field’s offices in

             Luverne, Alabama.

         iii. Hard copies of the Loaded Rate Sheet were distributed only to a

             limited number of authorized personnel involved in soliciting,

             preparing or reviewing proposals for work on the GP Project,

             including Killough. The proprietary rate and markup information

             contained in the Loaded Rate Sheet are included in Southern


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               Field’s Bid Documents for the Georgia Pacific Project, including

               proposals Killough prepared and sent to Georgia-Pacific on the

               GP Project, that are marked with the confidential/proprietary

               legend “COMPANY CONFIDENTIAL & PROPRIETARY

               INFORMATION.”

         iv. Southern discussed specifically with Killough Southern Field’s

               need to maintain the confidentiality of the proprietary

               information contained in its Loaded Rate Sheet.

         v. Southern Field’s Loaded Rate Sheet derives independent

               economic value from not being generally known to or readily

               accessible by other persons who could obtain economic value

               from its disclosure or use because, at a minimum, it includes

               information, such as time and materials rates developed by

               Southern Field using information not generally known in the

               field, that would allow persons knowledgeable in the field to

               competitively bid for business opportunities against Southern

               Field.

         vi.   During the time prior to and after separating from his

               employment with Southern Field, Killough copied and

               misappropriated Southern Field’s Loaded Rate Sheet without


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                    Southern Field’s consent or authorization and, upon information

                    and belief, has disclosed and used the information contained in

                    the Loaded Rate Sheets through TMS at a minimum in obtaining

                    and performing the maintenance service work on the GP Project.

      24.    The trade secret information described above is related to services used

in, or intended for use in, interstate commerce, including Southern Field’s service

maintenance projects in the states of Alabama, Georgia, and Louisiana, among

others. Southern Field’s computer and email systems are used in interstate

commerce, including throughout its many projects in the states of Alabama, Georgia,

and Louisiana, among others.

      25.    While employed by Southern Field, Killough received, and signed a

written acknowledgment that he had received, the Southern Field Office,

Superintendent, Safety, and Field Service Engineering Employee Handbook, which

provides, in relevant part:

      Given the nature of Southern Field’s business, it is frequently necessary
      for Southern Field employees to have access to sensitive business
      information regarding Southern Field, its customers, and its prospective
      customers. This information is confidential and is the property of the
      Company. It should only be used in connection with the performance
      of the Employee’s job duties and should not be discussed with other
      employees or with third parties outside the Company except where
      explicitly authorized by the Company. This policy applies to all
      records, documents, information, data and computer programs, patent,
      copyright or trademark matters concerning or relating to the business
      and affairs of Southern Field, its clients or prospective clients. Violation
      of this non-disclosure policy constitutes grounds for immediate
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      termination, and may subject the employee to further criminal and/or
      civil liability in accordance with applicable Federal or State laws.

      26.    Furthermore, when performing estimating, proposal and bidding

functions on the GP Project for Southern Field, Killough prepared and delivered to

Georgia Pacific quotes and proposals for maintenance work, all of which were

marked in the document that Killough himself prepared as “COMPANY

CONFIDENTIAL & PROPRIETARY INFORMATION.”

      27.    The misappropriation of Southern Field’s confidential, proprietary and

trade secret business information was undertaken by Killough, aided and abetted by

TMS, to enable the Killough to form and capitalize TMS and to enable TMS to be

ready immediately to compete with Southern Field and to take business

opportunities from Southern Field. Much of the information misappropriated was

current when Killough took it, and could easily be used to Southern Field’s great

competitive detriment in the hands of a competitor like TMS. The misappropriated

information had and has significant economic value to Southern Field, could not and

cannot be readily obtained or replicated by competitors such as Killough and TMS

from other sources, and has been the subject of reasonable efforts by Southern Fields

to protect its secrecy.

      28.    Through the activities of Killough, Killough and TMS became the

maintenance service contractor on the GP Project, work that Southern Field had held

and performed until Sunday, March 25, 2018. Specifically, Killough and TMS began
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work as the maintenance service contractor on the GP Project on or about Monday,

March 26, 2018, immediately after Killough separated from his employment with

Southern Field on Sunday, March 25, 2018.

      29.   Killough’s and TMS’s work as the maintenance service contractor on

the GP Project represented substantial revenue gained by Killough and TMS and lost

to Southern Field.

      30.   Defendants would not have been able to acquire such business had

Killough not (a) competed with Southern Field, on behalf of TMS, while Killough

was still employed at Southern Field; and (b) taken and utilized Southern Field’s

confidential, proprietary and trade secret business information as described above.

      31.   A critical aspect of Southern Field’s industrial maintenance business is

the calculation of labor and material costs for maintenance projects. In furtherance

of that, on or around December 2017 and January 2018, Southern Field employees

created the Actual CWR for Job 30459.

      32.   On June 28, 2019, Southern Field sought registration of the Actual

CWR with the United States Copyright Office.

      33.   On August 6, 2019, the United States Copyright Office denied Southern

Field’s registration for the Actual CWR.

      34.   During his employment with Southern Field, Killough had access to the

Actual CWR. During the time period of, at least December 2017 to March 2018,


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Killough prepared bids and tracked labor costs and expenses for Southern Field for

industrial maintenance and construction jobs on the GP Project, including Job

30459. As part of those duties, Killough had access to and was provided the Actual

CWR.

       35.   Both prior to and following his separation from Southern Field and

without authorization from Southern Field, Killough and TMS copied the Actual

CWR or created a substantially similar cost work report for the preparation of bids

for industrial maintenance and construction projects on behalf of TMS both at

Georgia-Pacific Cedar Springs and the Georgia-Pacific facility in Pennington,

Alabama.

       36.   Killough and Byrd have a close personal relationship which began

decades ago when Byrd married Killough’s sister.

       37.   Killough and Byrd also have a long-standing professional relationship,

as Byrd has hired Killough as an employee at a number of businesses, including at

the predecessor company that eventually became Southern Field.

       38.   Byrd was one of Killough’s managers at Southern Field for years. As a

result, and also as a result of Byrd’s professional responsibilities with Southern Field

for the GP Project, Byrd was intimately aware of the scope and nature of Killough’s

work for Southern Field on the GP Project.




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      39.      On or about May 1, 2015, as a part of the consideration for Byrd’s

continued employed as President of Southern Field, Byrd entered into an Amended

and Restated Service and Noncompetition Agreement (the “Byrd Agreement”). The

Byrd Agreement provides, in relevant part, the following:

      During the period commencing on the date of this Agreement and
      ending on the third (3rd) anniversary of the termination of Byrd’s
      engagement with [Southern Field] for any reason (the “Restriction
      Period”), Byrd shall not, anywhere within the territory within which
      [Southern Field does] business, directly or indirectly invest in, own,
      manage, operate, finance, control, advise, render services to or
      guarantee the obligations of any individual … [or ] limited liability
      company … engaged in or planning to become engaged in any business
      that is in competition with the Business of [Southern Field.]

The Byrd Agreement further provides that:

      During the Restriction Period, Byrd shall not, directly or indirectly
      … solicit the business of any Person who is a customer of [Southern
      Field]; cause, induce or attempt to cause or induce any customer … of
      [Southern Field] to cease doing business with [Southern Field], to deal
      with any competitor of [Southern Field] or in any way interfere with its
      relationship with [Southern Field.]

      40.      Byrd provided advice and assistance to Killough and TMS by taking at

least the following acts:

            a. On or before November 2017, referring Killough to First National Bank

               of Dozier (“FNB Dozier”), where Byrd had an existing banking

               relationship, for the purpose of establishing a banking relationship

               between TMS and FNB Dozier;



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    b. In or before March 2018, traveling with Killough to FNB Dozier for the

       express purpose of providing a personal reference on behalf of Killough

       to FNB Dozier as a part of a line-of-credit loan application Killough

       had made at FNB Dozier of behalf of TMS;

    c. On or about March 6, 2018, editing and modifying a spreadsheet

       describing TMS’s assets and certain Southern Field project proposals

       that Killough then emailed on March 6, 2018 to FNB Dozier President

       Willie Smith in support of the line-of-credit loan application Killough

       had made at FNB Dozier of behalf of TMS. Also attached to this email

       were three Georgia-Pacific contracts that Georgia-Pacific Cedar

       Springs had issued to TMS on March 1, 2018;

    d. In or about January 2018, paying off a promissory note Killough had at

       the Federal Land Bank in the amount of $55,000, during the same time

       that Killough was depositing thousands of dollars in TMS’s operating

       account at FNB Dozier; and

    e. Contacting Summers Brown at Fan Technology & Air System

       Engineers, a competitor of Southern Field, to solicit Brown and his

       company to hire Killough and TMS for maintenance and construction

       projects.




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      41.       As a result of the actions of Defendants, Southern Field has been injured

and damaged.



       Count I – Defend Trade Secrets Act – 18 U.S.C. § 1836 (“DTSA”)
      42.       Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 4.1

      43.       As described in Paragraph 23 above, the Southern Field Trade Secrets

represent valuable confidential and proprietary financial and business information

possessed by Southern Field within various programs, reports, and other documents

that are used by Southern Field in connection with the provision of its products and

services in interstate U.S. commerce.

      44.       As described in Paragraph 23 above, each of the Southern Field Trade

Secrets derive independent economic value from not being generally known to or

readily accessible by other persons who could obtain economic value from its

disclosure or use.

      45.       As described in Paragraphs 23, 25, and 26 above, Southern Field takes

and has taken reasonable steps to keep the Southern Field Trade Secrets secret and

confidential.

      46.       During the time prior to and after separating from his employment with

Southern Field, Killough copied and misappropriated the Southern Field Trade

Secrets without Southern Field’s consent or authorization and, upon information and
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belief, has disclosed them and used them through TMS in obtaining and performing

the maintenance service work on the GP Project.

      47.    Killough knew and continues to know of his duty as a then-current and

now-former Southern Field employee to maintain the secrecy of the Southern Field

Trade Secrets.

      48.    Defendants Killough and TMS knowingly, intentionally, maliciously

and improperly acquired and disseminated the Southern Field Trade Secrets in

breach of their duty to maintain their secrecy.

      49.    Defendants Killough and TMS engaged in this conduct with willful,

malicious, and improper motives and with reckless indifference to the rights of

Southern Field.

      50.    Upon information and belief, Defendants Killough and TMS

misappropriated, used and disclosed the Southern Field Trade Secrets at a time when

Defendants were actively working to supplant Southern Field as the maintenance

service contractor on the GP Project.

      51.    Upon information and belief, Defendants Killough and TMS used and

continue to use the Southern Field Trade Secrets, while knowing or having reason

to know that this confidential and proprietary information was derived from

Killough who had used improper means to acquire it, or was acquired under

circumstances giving rise to a duty to maintain its secrecy or limit its use, or was


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derived from Killough who owed a duty to Southern Field to maintain its secrecy or

limit its use.

       52.       Southern Field has been damaged by this misappropriation, entitling it

to recover compensatory damages and other statutory remedies and recourse

contemplated by the DTSA.

       WHEREFORE, Southern Field demands compensatory and punitive damages

from Defendants Killough and TMS, according to proof at trial, injunctive relief

prohibiting these Defendants’ use and employment of the Southern Field Trade

Secrets, attorneys’ fees and costs, and all such other relief to which Southern Field

may show itself entitled in the premises.



Count II – Alabama Trade Secrets Act – Ala. Code. § 8-27-1, et seq. (“ATSA”)

       53.       Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 52.

       54.       As described in Paragraph 23 above, the Southern Field Trade Secrets

represent valuable confidential and proprietary financial and business information

possessed by Southern Field within various programs, reports, and other documents

that are used by Southern Field in connection with the provision of its products and

services in interstate U.S. commerce.




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      55.       As described in Paragraph 23 above, each of the Southern Field Trade

Secrets derive independent economic value from not being generally known to or

readily accessible by other persons who could obtain economic value from its

disclosure or use.

      56.       As described in Paragraphs 23, 25, and 26 above, Southern Field takes

and has taken reasonable steps to keep the Southern Field Trade Secrets secret and

confidential.

      57.       During the time prior to and after separating from his employment with

Southern Field, Killough copied and misappropriated the Southern Field Trade

Secrets without Southern Field’s consent or authorization and, upon information and

belief, has disclosed them and used them through TMS in obtaining and performing

the maintenance service work on the GP Project.

      58.       Killough knew and continues to know of his duty as a then-current and

now-former Southern Field employee to maintain the secrecy of the Southern Field

Trade Secrets.

      59.       Defendants Killough and TMS knowingly, intentionally, maliciously

and improperly acquired and disseminated the Southern Field Trade Secrets in

breach of their duty to maintain their secrecy.




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         60.   Defendants Killough and TMS engaged in this conduct with willful,

malicious, and improper motives and with reckless indifference to the rights of

Southern Field.

         61.   Upon information and belief, Defendants Killough and TMS

misappropriated, used and disclosed the Southern Field Trade Secrets at a time when

Defendants Killough and TMS were actively working to supplant Southern Field as

the maintenance service contractor on the GP Project.

         62.   Upon information and belief, Defendants Killough and TMS used and

continue to use the Southern Field Trade Secrets, while knowing or having reason

to know that this confidential proprietary information was derived from Killough

who had used improper means to acquire it, or was acquired under circumstances

giving rise to a duty to maintain its secrecy or limit its use, or was derived from

Killough who owed a duty to Southern Field to maintain its secrecy or limit its use.

         63.   Defendants’ misappropriation, disclosure and use of the Southern Field

Trade Secrets constitutes a breach of confidence reposed in Killough by Southern

Field.

         64.   Southern Field has been damaged by this misappropriation, entitling it

to recover compensatory damages and other statutory remedies and recourse

contemplated by the ATSA.




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      65.    As provided in Ala. Code. § 8-27-4(a), Southern Field seeks recovery

from Defendants Killough and TMS of any profits and other benefits conferred on

Defendants Killough and TMS by the misappropriation that are attributable to the

misappropriation as well as Southern Field’s actual damages suffered as a result of

the misappropriation.

      WHEREFORE, Southern Field demands compensatory and punitive damages

from Defendants Killough and TMS, according to proof at trial, injunctive relief

prohibiting these Defendants’ use and employment of the Southern Field Trade

Secrets, attorneys’ fees and costs, and all such other relief to which Southern Field

may show itself entitled in the premises.



            Count III –Breach of Fiduciary Duty and Duty of Loyalty

      66.    Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 65.

      67.    Killough occupied a position of trust and confidence with Southern

Field. Killough held a managerial and supervisory role at Southern Field, and, as a

result, he was shown substantial amounts of Southern Field’s confidential and

proprietary company financial information by Southern Field. He was directly

responsible for making company sales on the GP Project, and in providing estimates,




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bids, quotes, proposals, budgeting and billing on the GP Project. As a result, he stood

in a fiduciary relationship to Southern Field.

      68.      As a fiduciary, manager, supervisor and employee of Southern Field,

Killough owed the following duties to Southern Field, among others:

            a. to disclose fully any conflict between his own interests and the interests

               of Southern Field;

            b. to disclose fully to Southern Field any information held by him that if

               withheld could damage Southern Field;

            c. to not set up a competing enterprise while still employed by Southern

               Field;

            d. to not compete with Southern Field while still employed by Southern

               Field;

            e. to not usurp a business opportunity while still employed by Southern

               Field; and

            f. to not, after his employment relationship with Southern Field was over,

               use information gained in confidence to profit at the expense of

               Southern Field.

      69.      Through the activities described above, Killough has violated his

fiduciary duties and duty of loyalty owed to Southern Field, proximately resulting

in injury and monetary damage to Southern Field.


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      WHEREFORE, Southern Field demands compensatory and punitive damages

from the Defendant Killough, according to proof at trial, attorneys’ fees and costs,

and all such other relief to which Southern Field may show itself entitled in the

premises.



Count IV – Civil Conspiracy: Breach of Fiduciary Duty and Duty of Loyalty

      70.    Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 69.

      71.    By virtue of his own employment with Southern Field, Byrd was

intimately aware of Killough’s position with Southern Field and the fact that

Killough held a position of trust and confidence with Southern Field.

      72.    Byrd and Killough reached an agreement that Byrd would assist and

advise Killough in Killough’s establishment of TMS as a competitor of Southern

Field with knowledge both that such actions would put Killough in breach of the

fiduciary duties and duty of loyalty that Killough owed Southern Field.

      73.    Byrd acted in concert with Killough in assisting and advising Killough

in Killough’s establishment of TMS as a competitor of Southern Field as described

herein in breach of the fiduciary duties and duty of loyalty that Killough owed

Southern Field.




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      74.    Southern Field has suffered injury and loss as a result of the Byrd’s

actions taken in concert with Killough that resulted in the formation and operation

of TMS in breach of the fiduciary duties and duty of loyalty that Killough owed

Southern Field.

      WHEREFORE, Southern Field demands compensatory and punitive damages

from the Defendant Killough, according to proof at trial, attorneys’ fees and costs,

and all such other relief to which Southern Field may show itself entitled in the

premises.



                                   Count V – Conversion

      75.    Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 74.

      76.    Defendants Killough and TMS have taken and used electronic versions

of certain of Southern Field’s Bid Documents, documents containing information

from Southern Field’s Project Tracking Log, and the Loaded Rate Sheet without

authorization from Southern Field.

      77.    Defendants’ actions in taking and using of these documents and things

without authorization constitute improper and unlawful deprivation of or

interference with Southern Field’s personal property, and a wrongful exercise of

dominion over that property in defiance of Southern Field’s rights therein.


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         78.   Defendants’ acts constitute conversion and have damaged Southern

Field.

         79.   Defendants’ conversion was done willfully and with knowledge that it

was in violation of Southern Field’s rights, entitling Southern Field to punitive

damages.

         WHEREFORE, Southern Field demands compensatory and punitive damages

from Defendants Killough and TMS, according to proof at trial, attorneys’ fees and

costs, and all such other relief to which Southern Field may show itself entitled in

the premises.



                     Count VI -- Civil Conspiracy: Conversion

         80.   Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 79.

         81.   Byrd and Killough reached an agreement that Byrd would assist and

advising Killough in Killough’s establishment of TMS as a competitor of Southern

Field by editing and modifying a spreadsheet taken from Southern Field without

authorization from Southern Field that contained information from Southern Field’s

Project Tracking Log.

         82.   Byrd acted in concert with Killough in editing and modifying a

spreadsheet taken from Southern Field without authorization from Southern Field


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that contained information from Southern Field’s Project Tracking Log that Killough

then provided to FNB Dozier in support of a TMS loan application.

      83.    Defendants’ actions in taking and using of these documents and things

without authorization constitute improper and unlawful deprivation of or

interference with Southern Field’s personal property, and a wrongful exercise of

dominion over that property in defiance of Southern Field’s rights therein.

      84.    Defendants’ acts have damaged Southern Field.

      85.    Defendants’ actions were done willfully and with knowledge that they

were taken in violation of Southern Field’s rights, entitling Southern Field to

punitive damages.

      WHEREFORE, Southern Field demands compensatory and punitive damages

from Defendants, according to proof at trial, attorneys’ fees and costs, and all such

other relief to which Southern Field may show itself entitled in the premises.



  Count VII – Tortious Interference with Contractual & Business Relations

      86.    Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 85.

      87.    Defendants Killough and TMS were aware of and had knowledge of

Southern Field’s contracts and business relationship with Georgia-Pacific on the GP

Project.


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      88.      Defendants Killough and TMS intentionally interfered with Southern

Field’s contracts and business relationship with Georgia-Pacific on the GP Project.

      89.      Killough was aware of the importance of the GP Project to Southern

Field. Killough would have been responsible for communicating any upcoming bid

opportunities regarding the GP Project to Southern Field. Killough was aware that

Southern Field desired to continue its work as the maintenance contractor on the GP

Project.

      90.      Killough acted outside of the scope of his employment with Southern

Field and with malice towards Southern Field when he, while still employed by

Southern Field:

            a. Formed and incorporated TMS to be a competitor of Southern Field;

            b. Recruited members of the crew of Southern Field employees that he

               supervised on the GP Project to work for TMS on the GP Project;

            c. Set up TMS as a vendor at the Georgia-Pacific Cedar Springs facility;

            d. Entered into a Master Purchase Agreement with Georgia-Pacific Cedar

               Springs;

            e. Solicited maintenance and construction jobs from Georgia-Pacific’s

               buyers and managers on the GP Project that resulted in Georgia-Pacific

               Cedar Springs issuing purchase orders to TMS for maintenance work

               projects as early as March 1, 2018;


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            f. Had Georgia-Pacific replace Southern Field as the maintenance

               contractor on the GP Project outside of the usual bid process;

            g. Had Southern Field removed from the bid list on the GP Project and/or

               failed to notify Southern Field about upcoming bid opportunities on the

               GP Project; and

            h. Used the Southern Field crew that he supervised on the GP Project to

               work a maintenance job on the GP Project as TMS on or about March

               16, 2018.

      91.      Southern Field was damaged as a result of these Defendants’ intentional

interference with Southern Field’s contracts and business relationship with Georgia-

Pacific on the GP Project.

      92.      Southern Field has suffered injury and loss as a result of these

Defendants’ interference.

      WHEREFORE, Southern Field demands compensatory and punitive damages

from Defendants Killough and TMS, according to proof at trial, attorneys’ fees and

costs, and all such other relief to which Southern Field may show itself entitled in

the premises.




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                      Count VIII – Copyright Infringement

      93.     Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 92.

      94.     Defendants have violated the exclusive rights granted to Southern Field

by the Copyright Act, 17 U.S.C. § 101 et seq., by reproducing the Actual CWR.

      95.     The Actual CWR is an original work of authorship fixed in a tangible

medium of expression from which it can be perceived, reproduced, or otherwise

communicated.

      96.     The Actual CWR was created by one or more Southern Field employees

in the course of their employment with Southern Field. Southern Field is the owner

of the copyright in the Actual CWR.

      97.     The statutory requirements of 17 U.S.C. § 411 have been met. On June

28, 2019, Southern Field submitted an application for registration for the Actual

CWR with the United States Copyright Office. On August 6, 2019, the United States

Copyright Office denied Southern Field’s registration for the Actual CWR.

Concurrent with the filing of this second amended complaint, Southern Field is

serving notice and a copy of this second amended complaint on the Register of

Copyrights.

      98.     Killough, or someone acting on behalf of Killough, obtained a copy of

the Actual CWR on or about January 24, 2018 in conjunction with Killough’s work


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for Southern Field, at which time the Actual CWR was stored on Killough’s personal

computer. Thus, Killough had access to the Actual CWR.

      99.    After obtaining a copy of Actual CWR, Killough, or someone acting on

behalf of Killough and TMS, copied the Actual CWR or created a substantially

similar cost work report for use by TMS in the preparation and submission of bids

for industrial maintenance projects.

      100. Through sworn testimony, Killough admits that a comparison of the

Actual CWR to a number of Killough and TMS’s cost work reports reveals that

portions of these TMS cost work reports were copied entirely from Southern Field’s

Actual CWR.

      101. Through sworn testimony, an agent and/or employee of TMS has

admitted that a portion of a number of Killough and TMS’s cost work reports were

copied or derived directly from the Actual CWR.

      102. Accordingly, a number of Killough and TMS’s cost work report are

substantially similar to the Actual CWR.

      103. Defendants are wrongfully reproducing the Actual CWR.

      104. Defendants have wrongfully reproduced the Actual CWR or have

wrongfully prepared derivative works based on the Actual CWR in, at least, 2018.

      105. Southern Field has been injured by Defendants’ acts of infringement.




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      106. Defendants have unlawfully and wrongfully derived, and will continue

to derive, income and profits from their infringing acts.

      WHEREFORE, Southern Field is entitled to and demands from Defendants

Killough and TMS at least its actual damages and any additional profits of these

Defendants attributable to infringement under 17 U.S.C. § 504(b). Further, these

Defendants continued infringement of the exclusive rights granted to Southern Field

by the Copyright Act has caused and continues to cause substantial harm to Southern

Field, and Southern Field is entitled to and demands injunctive relief to restrain and

prevent additional acts of infringement as provided by 17 U.S.C. § 502(a)



                   Count IX – Breach of the Byrd Agreement

      107. Southern Field hereby repeats, realleges and reincorporates the

allegations in paragraphs 1- 106.

      108. The non-compete and non-solicitation provisions of the Byrd

Agreement were and are in force through a three-year period following the

termination of Byrd’s employment with Southern Field, or from January 2018 until

approximately January 2011.

      109. Byrd breached the non-compete and non-solicitation provisions of the

Byrd Agreement by providing advice and assistance to Killough in organizing and

promoting TMS.


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         110. Byrd breached the non-compete and non-solicitation provisions of the

Byrd Agreement by providing advice and assistance to Killough with the knowledge

that Killough and TMS had secured business, and were seeking to secure additional

business, from Georgia-Pacific Cedar Springs, known by Byrd to be a customer of

Southern Field.

         111. Byrd breached the non-compete and non-solicitation provisions of the

Byrd Agreement by soliciting job opportunities for TMS, a competitor of Southern

Field.

         112. Byrd’s breaches of the non-compete and non-solicitation provisions of

the Byrd Agreement have caused damage and injury to Southern Field.

         113. Byrd’s breaches of the non-compete and non-solicitation provisions of

the Byrd Agreement aided and assisted Killough and TMS in forming and operating

TMS in competition with Southern Field, resulting in at least the loss to Southern

Field of work and income on the GP Project.

         WHEREFORE, Southern Field demands compensatory damages from the

Defendant Byrd, according to proof at trial, attorneys’ fees and costs, injunctive

relief prohibiting Defendant Byrd’s further breaches of the non-compete and non-

solicitation provisions of the Byrd Agreement, and extension of the term of the non-

compete and non-solicitation provisions of the Byrd Agreement in kind with the

period of time it is found that Defendant Byrd has been in violation of the non-


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compete and non-solicitation provisions of the Byrd Agreement, and all such other

relief to which Southern Field may show itself entitled in the premises.



                                  JURY DEMAND

      Plaintiff Southern Field Maintenance and Fabrication, LLC demands a trial

by struck jury of its claims for relief set forth in this Complaint.



Date: August 30, 2019


                                         /s/ Jeffrey D. Dyess
                                         _______________________________
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                                         Maintenance and Fabrication, LLC




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                        CERTIFICATE OF SERVICE

     I hereby certify that on August 30, 2019:

  A) I electronically filed the foregoing with the Clerk of the Court using the
     CM/ECF system which will send notification of such filing to the following:

 Shannon L. Holliday                        Michael E. Jones
 Wallace D. Mills                           Jones & Coots, LLC
 Copeland Franco Screws & Gill, P.A.        Post Office Box 367
 444 South Perry Street (zip 36104)         Luverne, Alabama 36049
 Post Office Box 347
 Montgomery, AL 36101-0347


  B) and I hereby certify that I have mailed by United States Postal Service
     Certified Mail the document along with the Section 411(a) Notice to the
     Register of Copyrights as required under 17 USC § 411(a) and 37 CFR
     205.13 to the following non-CM/ECF participants:

Register of Copyrights                   Hon. Louis V. Franklin, Sr.
United States Copyright Office           U.S. Attorney for the Middle District
101 Independence Avenue SE               of Alabama
Washington, DC 20559-6000                131 Clayton Street
                                         Montgomery, AL 36104

U.S. Copyright Office                    U.S. Department of Justice
Office of General Counsel                Office of the Attorney General
P.O. Box 70400                           Attn: Director of Intellectual Property
Washington, DC 20024-0400                Staff, Civil Division
                                         950 Pennsylvania Avenue, NW
                                         Washington, DC 20530




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C) And I certify that I am effecting service, with a summons, of the document
   to the following via hand delivery in accordance with Rule 4, Fed.R.Civ.P.:

   William Lomax Byrd
   7700 Brantley Hwy.
   Brantley, AL 36009.

                                   /s/ Jeffrey D. Dyess
                                   Jeffrey D. Dyess
                                   Attorney for Plaintiff Southern Field
                                   Maintenance and Fabrication, LLC




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